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14                                UNITED STATES DISTRICT COURT
15              NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
16
17   JENNIFER ANDERSON, on behalf of herself         Case No.: 3:17-cv-00103-EMC
     and on behalf of a Class of all other persons
18   similarly situated                              CLASS ACTION
19            Plaintiff,                             Assigned For All Purposes To:
                                                     Hon. Edward M. Chen
20      vs.
                                                     [PROPOSED] ORDER GRANTING JOINT
21                                                   STIPULATION AND AGREEMENT TO
     CHEVRON U.S.A., INC., a Delaware
                                                     CONTINUE STATUS CONFERENCE AND
22   Corporation; and DOES 1 through 100,            FOR CONTINUED TOLLING OF THE FLSA
     inclusive,                                      CLAIMS
23
              Defendants.                            Current Status Conference
24                                                   Date: April 1, 2018
                                                     Time: 10:30 a.m.
25                                                   Location: Courtroom 5, 17th Floor
26
                                                     Complaint Filed: September 7, 2016
27
                                                     Removed: January 9, 2017
28

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        ORDER GRANTING JOINT STIPULATION TO CONTINUE STATUS CONFERENCE AND FLSA TOLLING
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 1                                                 ORDER
 2          The Court has reviewed the above Joint Stipulation submitted by Plaintiff, Jennifer Anderson
 3   (“Plaintiff”), on behalf of herself and other similarly situated employees of Defendant Chevron
 4   U.S.A. Inc. (“Defendant”), and Defendant (collectively, “the Parties”).
 5          With GOOD CAUSE appearing, and pursuant to the Parties’ Joint Stipulation, the Court
 6   herby ORDERS that the Joint Stipulation is entered consistent with the terms and the Parties’
 7   agreement and it is hereby ORDERED that:
 8          1.       The mediation completion deadline of March 2, 2018 is continued to July 2, 2018;
 9          2.     The Case Management Conference scheduled for April 1, 2018 at 10:30 a.m. is
                        5
10   continued to July 2, 2018 at 10:30 a.m.;
11          3.       The duration of the tolling period in the parties’ FLSA Tolling Stipulation (Docket
12   Entry No. 34) approved by the Court on December 4, 2017 is continued from March 30, 2018 to
13   August 30, 2018; and
14          4.       The terms of the Court’s Order granting the parties’ FLSA Tolling Stipulation (Docket
15   Entry No. 24) remain the same except for the continued duration of the tolling period.
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16          IT IS SO ORDERED.                                      TES D      TC
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18   Dated: ___________________, 2018                                        D            RT
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19                                                         IT IS
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                                                              AS MOM. CHEN
                                                      HON. EDWARD
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20                                                     United States District Judge
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21                                                              Judge
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        ORDER GRANTING JOINT STIPULATION TO CONTINUE STATUS CONFERENCE AND FLSA TOLLING
